                  THE THIRTEENTH COURT OF APPEALS

                                   13-23-00278-CV


                                   Lorenza Mata
                                        v.
                           Paul Moreno and Mayra Moreno


                                   On Appeal from the
                      81st District Court of Wilson County, Texas
                       Trial Court Cause No. 19-05-00393-CVW


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be reversed and the cause

remanded to the trial court. The Court orders the judgment of the trial court REVERSED

and REMANDED for further proceedings consistent with its opinion. Costs of the appeal

are adjudged against appellees and we release the supersedeas bond and discharge its

surety.

      We further order this decision certified below for observance.

August 22, 2024
